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                      EXHIBIT A
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    Juror Name: ____________________________             Juror Number: _________________


                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                  JUROR QUESTIONNAIRE

TO THE PROSPECTIVE JUROR:

The information that you provide in this questionnaire will be used by the Court and the parties
to select a qualified jury for this case; that is, a jury that can render a verdict fairly and
impartially based upon the evidence offered at trial in accordance with the law as instructed by
the Judge. All parties in this trial are entitled to a fair and impartial jury.

It is very important that you answer these questions as fully, honestly, and accurately as you can;
you have sworn an oath to do so. There are no right or wrong answers; only complete and
incomplete answers. Your complete candor and honesty is necessary so that both the
prosecution and the defense will have a meaningful opportunity to select an impartial jury.

Please keep the following instructions in mind:

      You are instructed not to discuss this case or this questionnaire with anyone, including
       your family and fellow jurors.

      If you are unable to answer a question because you do not understand it, please write “Do
       not understand” in response to that question. Do not ask anyone, including court
       personnel, for clarification or assistance.

      If you are unable to answer a question because you do not know the answer, please write
       “Do not know” in response to that question.

      If you are unable to answer a question because it does not apply to you, please write
       “N/A” (which stands for “not applicable”) in response to that question.

      If you prefer not to answer a question because of the private nature of your response,
       write “Private” after each question. At a later date, the court may inquire about the topic
       privately.

      If you require additional space for your responses, or wish to make further comments
       regarding any of your answers, please use the Explanation Sheet (on the last page). Put
       the number of the question you are answering before you write the response or comment.

      Unless the question states otherwise, the fact that a particular question is asked does not
       imply that the subject matter of that question pertains to this case. As you read the
       questions, you are not to draw any inferences about the issues to be decided in this case.
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      After you have completed this questionnaire, you are instructed not to discuss any of the
       questions or your answers on this questionnaire with anyone, including members of your
       family, co-workers, or other potential jurors. If anyone approaches you and attempts to
       discuss any aspect of this questionnaire, the jury selection process, or any aspect of this
       case, you are not permitted to answer their questions.

        At the end of the questionnaire, please sign it, affirming the truth of your answers and the
fact that you have given them without assistance.

                 PLEASE PRINT LEGIBLY AND USE ONLY DARK INK
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1. Name ____________________ Juror Number:

2. Age:
   State and City of Birth:
   Gender:
3. Current Address:


   (City)                     (State)        (Zip Code)

4. How long have you lived at that location? _________________________________

5. Please list any other communities in which you have lived in the past ten years:




6. Please list your parents’ occupations: (If retired/deceased, list most recent occupation)

            Mother:
            Father:
            Stepmother:
            Stepfather:

7. What is the highest level of education you have completed?

       Grade school or less                  ___
       Some high school                      ___
       High school diploma or GED            ___
       Technical or business school          ___
       Some college                          ___
       College degree                        ___
       Graduate or Professional degree       ___ (specify):

8. Are you presently a student?
      Yes ____ No ____
      If yes, describe course of study and anticipated date of completion:
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9. Please list any jobs you have had in the past ten (10) years, starting with the most recent job
   and describe what you did at each job:

                Job Title               Employer            Job Duties           Dates worked




10. If you are not currently employed outside the home, please check the category below that
    applies to your employment status:

       ____ Homemaker
       ____ Retired (If retired, what was your primary occupation?): _____________________
       ____ Unemployed – currently looking for work
       ____ Unemployed – not currently looking for work
       ____ Student
       ____ Disabled
       ____ Other (please explain):

11. Marital status: Married _____ Single _____ Separated _____
       Divorced ______ Widowed _____
       Civil union/domestic partner _____

12. Spouse/partner/significant other:
       Name:
       Occupation:
       Employer:

13. Please check the highest level of education your spouse/partner/significant other has
    completed. If widowed, divorced or separated, please answer regarding your late or former
    spouse/partner/significant other.


       Grade school or less                   ___
       Some high school                       ___
       High school diploma or GED             ___
       Technical or business school           ___
       Some college                           ___
       College degree                         ___
       Graduate or Professional degree        ___ (specify):
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14. Do you have children or grandchildren? If so, please list the following information for each:


Gender Age        Live with you?   Post-high school education              Occupation
                                   (specify degree and school)


_____     _____      Yes / No      _____________________________           _______________


_____     _____      Yes / No      _____________________________           _______________


_____     _____      Yes / No      _____________________________           _______________


_____     _____      Yes / No      _____________________________           _______________


_____     _____      Yes / No      _____________________________           _______________


15. What newspaper(s), magazine(s), or websites do you read regularly?




16. Please list any internet social networking websites that you use and/or have an account with
    (MySpace, Facebook, LinkedIn, Twitter, Tumblr, Instagram, or any similar sites):



17. Have you had prior jury trial service?
       Yes _____ No _____
   If your answer is yes, please answer the following:
   Which type of jury service was it?
        Criminal _____ Civil _____ Both _____
   Did the jury reach a verdict in each case above?
        Yes _____ No _____
   Is there anything about your prior jury service that might affect your ability to be fair and
   impartial in this case?
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       Yes _____ No _____
       If yes, please explain:


18. Are you currently taking any medications that might interfere with your ability to
    concentrate?
       Yes _____ No _____
       If yes, please explain:

19. Is there any reason relating to the COVID-19 pandemic that would make your jury service an
    undue hardship for you or anyone in your household?
         Yes _____ No _____
         If yes, please explain:


20. Do you have any personal or business affairs that would make it difficult for you to serve as a
    juror (the trial is expected to last for approximately 4 to 6 weeks)?
        Yes _____ No _____
        If yes, please explain:


21. Do you have any personal or family responsibilities (such as caring for a young child or ill or
    elderly person) that would interfere with your service as a juror?
        Yes _____ No _____
        If yes, please explain:


22. The prosecution has the burden of proving that the defendant is guilty beyond a reasonable
    doubt. A defendant does not have to prove that he is innocent. Do you disagree in any way
    with this principle?
       Yes _____ No _____
       If yes, please explain:


23. Have you, a relative, a close friend, and/or anyone you live with ever been employed in law
    enforcement?
       Yes _____ No _____
       If yes, please identify the law enforcement agency:


24. Have you, a relative, a close friend, and/or anyone you live with ever been employed by the
    court system?
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       Yes _____ No _____
       If yes, please identify the position and location:

25. Have you, a relative, a close friend, and/or anyone you live with ever worked for a United
    States Attorney’s Office, a State or Local Prosecutor’s Office, the FBI, or the IRS?
        Yes _____ No _____

       If yes, for each such person, please list in what office the person works or worked, and
       what your relationship is to that person.

       Office Worked In                       Relationship




26. Have you, a relative, a close friend, and/or anyone you live with ever worked for a criminal
    defense attorney or public defender?
        Yes _____ No _____

       If yes, for each such person, please list in what office the person works or worked, and
       what your relationship is to that person.

       Office Worked In                       Relationship




27. The jurors in this case will be instructed that the testimony of a law enforcement officer is to
    be treated the same as the testimony of anyone else. Do you have any concerns about your
    ability to follow this instruction?
        Yes _____ No _____
        If yes, please explain:


28. Have you, a relative, a close friend, and/or anyone you live with ever been the victim of a
    crime?
        Yes _____ No _____
        If yes, please explain:


29. Have you, a relative, a close friend, and/or anyone you live with ever been a witness to a
    crime?
        Yes _____ No _____
        If yes, please explain:
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30. Have you, a relative, a close friend, and/or anyone you live with ever been arrested for,
    charged with, or convicted of an offense other than a simple traffic violation?

       Yes _____ No _____
       If yes, what was the crime?

       Was it a felony or misdemeanor?

       What punishment did you (or someone else) receive (including probation)?


31. In this case, defendants are being represented by Brian Kelly, Joshua Sharp, and Lauren
    Maynard of Nixon Peabody LLP; Michael Loucks, Jack DiCanio, and Emily Reitmeier of
    Skadden, Arps, Slate, Meagher & Flom LLP; Michael Kendall, Lauren Papenhausen, and
    Yan Chu of White & Case LLP; Andrew Tomback of McLaughlin & Stern, LLP; and Robert
    Sheketoff. Do you know any of these attorneys?
        Yes _____ No _____
        If yes, please describe how you know them.


32. Do you know any other employees who are associated with the law firms Nixon Peabody
    LLP, Skadden, Arps, Slate Meagher & Flom LLP, White & Case LLP, or McLaughlin &
    Stern, LLP?
        Yes _____ No _____
        If yes, please describe how you know them.


33. The prosecutors in this case are Assistant United States Attorneys Stephen Frank, Justin
    O’Connell, Leslie Wright, Kristen Kearney, and Ian Stearns. Do you know any of these
    attorneys?
        Yes _____ No _____
        If yes, please describe how you know them.


34. The defendants in this case are Gamal Abdelaziz of Nevada, Marci Palatella of California,
    and John Wilson of Lynnfield, MA. Do you know any of these individuals?
       Yes _____ No _____
       If yes, please describe how you know them.
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35. Attached to this questionnaire as Attachment A is a list of people who may testify at this trial.
    Do you personally know any of those people?
        Yes _____ No _____
        If yes, please describe how you know them.


36. Do you, a relative, a close friend, and/or anyone you live with have a personal affiliation with
    the University of Southern California, Harvard University, Stanford University, the College
    Board, Educational Testing Services, or ACT Inc.?
        Yes _____ No _____
        If yes, please explain:


37. Have you, an immediate family member, a grandchild, and/or anyone you live with:

   a. Played sports in college?
      Yes _____ No ____
      If yes, identify the school and sport:


   b. Worked with or for a college counseling service to help a child prepare for college (e.g.,
      academic planning, extracurricular development, standardized exam preparation, college
      counseling, etc.)?
      Yes _____ No ____
      If yes, please explain:


   c. Used extra time on tests or exams, including standardized tests such as the SAT or ACT
      exam, as the result of having a learning disability?
      Yes _____ No ____
      If yes, please explain:


   d. Been employed by any college or university?
      Yes _____ No ____
      If yes, identify the school and position:


   e. Made a donation or contribution to a college or university?
      Yes _____ No ____
      If yes, explain, stating the school, amount, and fund or program that received the
      donation:
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   f. Worked in fundraising for any organization?
      Yes _____ No _____
      If yes, please explain:




38. Have you ever commented on this case in a blog post, article, on social media, or any other
    forum?
        Yes _____ No _____
        If yes, please explain:


39. Are you aware of any preconceived views or prejudice that you may have against the
    government or the defendants that would in any way impair your ability to evaluate and
    judge fairly and impartially the facts of this case?
       Yes _____ No _____
       If yes, please explain:


40. The defendants in a criminal case have an absolute right not to testify. Would you hold it
    against the defendants if they did not testify in this case?
       Yes _____ No _____
       If yes, please explain:


41. As a juror, you would be barred from reading or watching media accounts of the trial,
    consulting external sources, and discussing the case with other people. The judge may order
    you to refrain from using social media for the duration of the trial. Do you have any
    reservations or concerns about your ability or willingness to abide by these rules?
        Yes _____ No _____
        If yes, please explain:


42. Do you have any religious, ethical, moral or philosophical beliefs that would make it difficult
    for you to sit in judgment on another person in a court of law?
        Yes _____ No _____
        If yes, please explain:


43. Did you have any problems reading and understanding this questionnaire?
       Yes _____ No _____
       If yes, please explain:
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44. Is there any other matter or any information you feel that the judge or attorneys should know
    about you, not covered by this questionnaire? Do you have any concerns that have been
    raised by the experience of filling out this questionnaire that might affect your ability to sit as
    a juror, or anything else that you feel we should know about? If so, please explain.


45. Is there anything about your responses to any of the questions in this questionnaire, or
    anything else in your background, experience, employment, training, education, knowledge,
    or beliefs that might affect your ability to be a fair and impartial juror?




                                    JUROR CERTIFICATION
I do hereby certify, under the pains and penalties of perjury, that I had no assistance in
completing this questionnaire and the answers that I have given in this questionnaire are true and
complete to the best of my knowledge and belief.
Signature:
Print Name:
Date:
